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13
                           UNITED STATES DISTRICT COURT
14
                          EASTERN DISTRICT OF CALIFORNIA
15
                                 SACRAMENTO DIVISION
16

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      X CORP.,                              No. 2:23-cv-01939-WBS-AC
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                    Plaintiff,
19
            v.                              [PROPOSED] ORDER GRANTING
20                                          STIPULATION TO CONTINUE THE
      ROBERT A. BONTA, Attorney             STATUS CONFERENCE AND FOR AN
21    General of California, in his         EXTENSION OF TIME TO FILE A
      official capacity,                    JOINT STATUS REPORT
22
                    Defendant.
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     [PROPOSED] ORDER GRANTING                1
     STIPULATION TO CONTINUE THE
     STATUS CONFERENCE AND FOR AN
     EXTENSION OF TIME TO FILE A
     JOINT STATUS REPORT
     Case 2:23-cv-01939-WBS-AC Document 35-1 Filed 12/26/23 Page 2 of 2


 1         The Court, having considered the Parties’ stipulation, hereby

 2   grants the Parties’ request and ORDERS that the Status (Pretrial

 3   Scheduling) Conference currently scheduled for January 16, 2024,
 4   shall be continued to [______,2024, at ____a.m./p.m.] OR [a date

 5   to be later determined by the Court, following the Court’s ruling

 6   on   the   Plaintiff’s   motion   for   preliminary    injunction].   The

 7   Parties’ deadline to file with the Court a Joint Status Report is
 8   continued to fourteen calendar days prior to the date of the

 9   continued Status (Pretrial Scheduling) Conference.

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11   IT IS SO ORDERED.

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     DATED:_______________                    ____________________________
14                                            Honorable William B. Shubb
                                              United States District Judge
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     [PROPOSED] ORDER GRANTING                2
     STIPULATION TO CONTINUE THE
     STATUS CONFERENCE AND FOR AN
     EXTENSION OF TIME TO FILE A
     JOINT STATUS REPORT
